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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )     Case No. 21-CR-00118-RCL
                                  )
LISA MARIE EISENHART              )
                                  )
                                  )
                 Defendant        )
                                  )



 DEFENDANT LISA EISENHART’S MOTION FOR DEFENDANT TO APPEAR
          FOR RESENTENCING VIA VIDEOCONFERENCE



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      COMES NOW Defendant Lisa Eisenhart, by and through his undersigned

counsel of record William L. Shipley, and hereby respectfully makes this

motion to allow Defendant Eisenhart to appear for resentencing on January 16,

2025, via videoconference.

      On December 20, 2024, this Court authorized the payment of travel

related expenses by Ms. Eisenhart based on demonstrated financial hardship.

See ECF. No. 274. At the time of the application, Ms. Eisenhart was not aware

that this Court has allowed misdemeanant offenders to appear for sentencing

via video conference.

      As this Court is aware, Ms. Eisenhart returns to this court for

resentencing in the misdemeanor convictions suffered by her in a stipulated

bench trial on April 18, 2023. Ms. Eisenhart subsequently appealed, and

following the Supreme Court’s decision in Fischer v. United States the

Department of Justice agreed to vacate her conviction under 18 U.S.C. Sec.

1512(c)(2), and for her case to be remanded to this Court for resentencing on

the remaining counts, all of which are misdemeanors.

      Undersigned counsel is set to be in the District of Columbia District

Court for sentencing on another matter on January 16, 2025, and will appear

in-person on Ms. Eisenhart’s behalf. However, even with the financial

assistance of the U.S. Marshal Service, Ms. Eisenhart must still travel from the

Nashville, Tennessee area to the District of Columbia to appear in person on

January 16, 2025, requiring an overnight visit and time away from her

employment. On that basis, Ms. Eisenhart respectfully requests that this

Court permit her to appear for resentencing via videoconference.
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Dated: January 2, 2025        Respectfully submitted,




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